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5
6                               IN THE UNITED STATES DISTRICT COURT
7                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8
     IN THE MATTER OF THE                             )   Case No. 2:18-mj-152 EFB
9    EXTRADITION OF OMAR                              )
     ABDULSATTAR AMEEN TO THE                         )   STIPULATION AND [PROPOSED]
10   REPUBLIC OF IRAQ                                 )   PROTECTIVE ORDER REGARDING
                                                      )   WITNESS STATEMENTS AND OTHER
11                                                    )   MATERIALS
12                                                        Judge: Hon. Edmund F. Brennan
13
             IT IS HEREBY STIPULATED AND AGREED among the parties and their respective
14
     counsel, Benjamin D. Galloway and Rachelle Barbour, on behalf of Omar Abdulsattar Ameen,
15
     and Audrey B. Hemesath, Assistant United States Attorney, on behalf of the Government, that
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     certain information, as defined below, is subject to a Protective Order.
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             The Defense will make available unredacted witness statements obtained by the defense
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     to counsel for the Government. It is the Defense’s position that these witness statements, and
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     other materials containing witness information, are sensitive because if disseminated, the
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     materials could invite intimidation or retaliation against the individuals identified and/or result in
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     the dissemination of personally identifying information. The parties agree that certain steps are
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     appropriate to limit the dissemination of the materials. This Court may enter protective orders
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     pursuant to its general supervisory authority and Local Rule 141.1.
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             1. Defense counsel will provide Counsel for the Government with unredacted witness
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                 statements. Defense counsel will also provide other unredacted documents and
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                 materials containing information that identifies witnesses. Counsel for the
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                 Government shall not disclose the identities of the witnesses, the fact of their contact
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                 and communications with the defense, or the contents of their statements, to any

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1                branch of the Iraqi Government, including the Iraqi National Security Service, any
2                part of the Iraqi military or any militia group, the Iraqi Foreign Ministry or its
3                subdivisions, or any branch of Iraqi law enforcement. Defense counsel will note in a
4                cover letter the materials that are given to Government Counsel subject to this
5                Protective Order.
6            2. Government Counsel will ensure that any materials produced pursuant to paragraph
7                (2) are stored in a secure place and will use reasonable care to ensure that the
8                materials are not disclosed to third persons in violation of this agreement.
9                Government Counsel will ensure that if these statements or documents are transferred
10               to U.S. Government personnel beyond the undersigned, that those personnel agree to
11               be bound by this Protective Order.
12   DATED: April 8, 2019                             Respectfully submitted,
13                                                    HEATHER E. WILLIAMS
14                                                    Federal Defender

15                                                    /s/ Benjamin D. Galloway
                                                      BENJAMIN D. GALLOWAY
16                                                    Chief Assistant Federal Defender
17
                                                      /s/ Rachelle Barbour
18                                                    RACHELLE BARBOUR
                                                      Assistant Federal Defender
19                                                    Attorneys for OMAR AMEEN
20
     DATED: April 8, 2019                             /s/ Audrey Hemesath
21
                                                      AUDREY B. HEMESATH
22                                                    Assistant United States Attorney

23
24                                                    ORDER
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             IT IS SO FOUND AND ORDERED.
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     DATED: April 9, 2019
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